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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  JILLIAN SCHROTBERGER,                            §
                                                   §
                     Plaintiff,                    §
                                                   §
                     v.                            §
                                                   § Civil Action No. 2:21-cv-00364-JMY
  JOHN DOE, as the ADMINISTRATOR                   §
  of the ESTATE OF ANDREAS                         § JURY TRIAL DEMANDED
  SCHNEIDER-NEUREITHER, SNP                        §
  TRANSFORMATIONS, INC., SNP                       §
  SCHNEIDER-NEUREITHER &                           §
  PARTNER SE and SN ASSETS                         §
  AMERICAS LLC                                     §
                                                   §
                     Defendants.                   §


  SNP SCHNEIDER-NEUREITHER & PARTNER SE’S REPLY IN SUPPORT OF ITS
  OBJECTIONS TO PLAINTIFF’S AFFIDAVIT SUBMITTED IN RESPONSE TO ITS
        MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

       Defendant SNP Schneider-Neureither & Partner SE (“SNP SE” or “Defendant”), submits

this Reply in Support of its Objections to Plaintiff’s Affidavit Submitted in Response to its Motion

to Dismiss for Lack of Personal Jurisdiction. In support of its Objections, SNP SE respectfully

states as follows:

                                       I.      INTRODUCTION

       The majority of SNP SE’s objections to Plaintiff’s affidavit pertain to her lack of personal

knowledge. In her Response to SNP SE’s Objections—just as she does in the affidavit at issue—

Plaintiff simply parrots the conclusory allegation that she was employed by both SNP

Transformations, Inc. and SNP SE. Plaintiff claims to have “personal knowledge” of the corporate

structure and dealings of both entities, but gives no indication of how she obtained such

knowledge. Plaintiff was required to establish the foundation of her personal knowledge, not
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merely to insist upon it. Because Plaintiff’s amended complaint mooted SNP SE’s earlier motion

to dismiss, the affidavit at issue here is her third attempt to allege facts that would establish

personal jurisdiction over SNP SE. See Docs. 28 (Exhibit A), 32-1, 59-1. Despite so many bites at

the apple, Plaintiff still fails to establish the basis of the personal knowledge she claims to have.

Accordingly, Plaintiff’s inadmissible testimony is insufficient to establish personal jurisdiction

over SNP SE.

                               II.     ARGUMENT & AUTHORITIES

       A. Plaintiff Has Not Established Any Basis for Personal Knowledge Concerning the
          Corporate Structure of SNP SE and SNP Transformations, Inc.

       In nearly every paragraph of her affidavit, Plaintiff makes the repeated allegation that she

was employed by both SNP SE and SNP Transformations, Inc. See Doc. 59-1 at ¶¶ 1–4, 6–8, 10–

17. But the only basis for the personal knowledge she claims is that she worked as a “Senior

Advisor” to Schneider-Neureither. Id. at ¶¶ 2, 5. Essentially, she asks the Court to accept that she

gained personal knowledge of SNP SE and SNP Transformations, Inc.’s corporate structure by

osmosis.

       However, for testimony to be admissible, an affiant must state the basis of her personal

knowledge. See Fed. R. Civ. P. 602. In Lopresti v. Cty. of Lehigh, the Third Circuit considered the

affidavit of a corrections officer who alleged that her Union had breached its duty to fairly

represent her. 572 F. App’x 133, 136 (3d Cir. 2014). In her response to the Union’s motion for

summary judgment, the corrections officer included an affidavit in which she stated that five other

female corrections officers had not received grievance hearings, while seven male officers had

received such hearings. Id. She argued that this evidence supported her claim that she—like the

other female corrections officers she listed—had not been fairly represented by the Union. Id. The

Third Circuit affirmed summary judgment on behalf of the Union, concluding that the corrections


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officer’s affidavit was made “without any foundation, attribution or indication of how she had or

could have personal knowledge of other officers’ disciplinary records and how the Union handled

them.” Id. The corrections officer argued that she had personal knowledge of the disciplinary

process “because of her long tenure” with her employer. Id. at 137. But the Third Circuit explained

that the officer’s “long tenure’ does not automatically bestow personal knowledge upon her, and

without more [the officer] could not testify to such unsupported claims[.]” Id.

       The same is true of Plaintiff here. She essentially relies on her “long tenure” as Schneider-

Neureither’s assistant to “automatically bestow” personal knowledge upon her. Plaintiff does not,

for example, testify that she worked with a corporate secretary or treasurer who explained SNP SE

and SNP Transformations, Inc.’s corporate structure. And Plaintiff does not, for example, testify

that Schneider-Neureither showed her documents demonstrating that SNP SE was the entity that

employed her. Instead, Plaintiff testifies only that she worked for someone who had the personal

knowledge she now claims. But mere proximity to an executive is not enough to “automatically

bestow” personal knowledge. Plaintiff was required to state how she acquired her personal

knowledge of which entity employed her. See Fed. R. Civ. P. 602 (“A witness may testify to a

matter only if evidence is introduced sufficient to support a finding that the witness has personal

knowledge of the matter.”). Plaintiff has introduced no evidence that she has personal knowledge

that she was employed by both SNP Transformations, Inc. and SNP SE.

       Plaintiff also makes no attempt to address the declaration of SNP SE executive Jörg Harald

Vierfuß, whose testimony was based on his review of SNP SE’s personnel and corporate

documents. Contrary to the inadmissible evidence presented by Plaintiff, Vierfuß’s testimony

provides a sufficient basis for personal knowledge as a matter of law. See Byrd v. Merrill Lynch,

No. CIV. A. 10-0247, 2011 WL 2680572, at *6 (D.N.J. July 8, 2011), aff’d, 479 F. App’x 444 (3d



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Cir. 2012). Moreover, Vierfuß, who holds the title “Director Finance,” is in a position to access

financial and corporate documents indicating Plaintiff’s employing entity, unlike Plaintiff.

       First, Vierfuß stated that SNP SE never employed Plaintiff: “I have reviewed personnel

and other corporate documents related to SNP SE’s employees. My review of these documents

establishes that Plaintiff was never an employee of SNP SE. Rather, she was and continues to be

employed by SNP Transformations, Inc.” See Doc. 60-1 at ¶ 3. Second, despite the fact that

Plaintiff styles herself a “Senior Advisor,” Vierfuß clarified that “[d]uring her tenure at SNP

Transformations, Inc., Plaintiff’s role has not been managerial in nature.” Id. The relevant case

law establishes that when an employee’s position is non-managerial, more than mere employment

is needed to show a basis for personal knowledge of corporate structure. See Smith v. Schwan’s

Food Serv., No. 7:13-CV-00844-RDP, 2015 WL 5559825, at *9 (N.D. Ala. Sept. 18, 2015);

Nielsen v. AECOM Tech. Corp., No. 12-CIV-5163-KBF, 2012 WL 6200613, at *4 (S.D.N.Y. Dec.

11, 2012), aff’d, 762 F.3d 214 (2d Cir. 2014). 1 In sum, Plaintiff argues that this Court should

exercise personal jurisdiction over SNP SE because Plaintiff was employed by SNP SE. But

Plaintiff lacks the personal knowledge to offer that testimony, and it is contrary to the established

facts. The Court should disregard Plaintiff’s testimony.

       B. Plaintiff Has Not Established Any Basis for Personal Knowledge Concerning the
          Level of Control SNP SE Exerts Over SNP Transformations, Inc.

       Plaintiff testifies that “[b]ased on my knowledge, information, and belief, SNP SE wholly

owns and controls SNP Transformations.” See Doc. 59-1 at ¶ 11. She also states that “on

knowledge, information, and belief as an employee all product for SNP Transformations comes


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  As SNP SE notes in its Objections, even if the Court accepts Plaintiff’s affidavit as true,
Plaintiff’s allegations are still insufficient to establish personal jurisdiction over SNP SE.
Plaintiff’s attempt to distinguish the case law in SNP SE’s Objections by characterizing those cases
as considering legal sufficiency, rather than admissibility, misses the point. Whether Plaintiff’s
affidavit is admitted or not, Plaintiff has still not carried her burden.
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from SNP SE, marketing for the SNP Entities is done globally through SNP SE, and SNP

Transformations’ budget is controlled by SNP SE.” Id. at ¶ 12. This testimony is inadmissible

because it is made upon information and belief—not on personal knowledge. Dean v. Philadelphia

Gas Works, No. CIV. A. 19-4266, 2021 WL 2661485, at *3 n.5 (E.D. Pa. June 28, 2021); Burns

v. Lavender Hill Herb Farm, Inc., No. 01-CV-7019, 2002 WL 31513418, at *4 (E.D. Pa. Oct. 30,

2002). In her Opposition, Plaintiff does not dispute this point. Accordingly, the Court should

disregard Plaintiff’s testimony concerning the degree of control SNP SE exercises over SNP

Transformations, Inc.

                                          III.    CONCLUSION

       Plaintiff has failed to establish personal knowledge for the statements in her affidavit.

Accordingly, SNP SE asks that this Court sustain SNP SE’s objections to paragraphs 1–4, 6–8,

10–17 of Plaintiff’s affidavit, dismiss with prejudice all of Plaintiff’s claims against SNP SE for

lack of personal jurisdiction, and grant SNP SE all other and further relief to which it is entitled.




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Dated: January 6, 2022                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system on this 6th day of January, 2022, which constitutes service on Plaintiff’s
counsel of record, who are registered users of the CM/ECF system pursuant to Fed. R. Civ. P.
5(b)(2)(E).


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